Case 1:25-cv-01015-RCL Document 120-1

UNITED STATES DISTRICT COURT
DISTRICT OF COLUMBIA

PATSY WIDAKUSWARA, JESSICA JERREAT,
KATHRYN NEEPER, JOHN DOES 1-4,
REPORTERS SANS FRONTIERES,
REPORTERS WITHOUT BORDERS, INC.,
AMERICAN FEDERATION OF STATE,
COUNTY AND MUNICIPAL EMPLOYEES
(AFSCME), AMERICAN FEDERATION OF
GOVERNMENT EMPLOYEES (AFGE),
AMERICAN FOREIGN SERVICE
ASSOCIATION (AFSA), and THE
NEWSGUILD-CWA,

Plaintiffs,
-against-

KARI LAKE, in her official capacity as Senior
Advisor to the Acting CEO of the U.S. Agency for
Global Media; VICTOR MORALES, in his
official capacity as Acting CEO of the U.S.
Agency for Global Media; and U.S. AGENCY
FOR GLOBAL MEDIA,

Defendants.

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DECLARATION OF GEORGINA YEOQMANS

I, Georgina Yeomans, declare under penalty of perjury, pursuant to 28 U.S.C. § 1746,

that the following is true and correct:

1. Taman Associate General Counsel at the American Federation of State, County, and

Municipal Employees, AFL-CIO. I am personally familiar with the facts set forth in this

Declaration and, if called, could testify competently thereto.

2. Attached to this declaration are documents all obtained by way of public records.
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3. Exhibit A is a true and correct copy of a letter and its enclosure that Kari Lake sent to
Congress on June 3, 2025, as reported by the Washington Post and obtained from
https://www.washingtonpost.com/documents/eb4f89e2-d74e-4 fdc-af05-
4bc96d190cfb.pdfitid=lk_mline_manual_7.

4. Exhibit B is the 2025 Budget Justification USAGM submitted to Congress, obtained from
https://www.usagm.gov/wp-content/uploads/2024/03/USAGMBudget FY25 CBJ_03-
08-24-1 pdf.

5. Exhibit C is the 2022 USAGM Annual Report to Congress, obtained from
https://www.usagm.gov/wp-content/upioads/2023/04/USAGM_ AR2022 04-12-23 pdf.

6. Exhibit D is the 2024 Budget Justification USAGM submitted to Congress, obtained
from https://www.usagm.gov/wp-content/uploads/2023/03/FY2024 CBJ Final_3-14-
23.pdf.

7. Exhibit E is a letter members of Congress sent to Defendants Kari Lake and Victor
Morales on March 27, 2025, obtained from
hitps://www.schatz.senate.gov/imo/media/doc/sfops_dems_to_usagm.pdf.

8. Exhibit F is the 2020 USAGM Annual Report to Congress, obtained from
https://www.usagm.gov/wp-content/uploads/2022/09/USAGM-AR2020-FINAL-
lowres.pdf.

I declare under penalty of perjury that the foregoing 1s true and correct and that this

declaration was executed in Washington, D.C. on June 19, 2025.

j

7/ Georgina/Y eomans
